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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                              FRANKFORT DOCKET

                                              )
PROTECT MY CHECK, INC.,                       )
                                              )
                Plaintiff,                    )   MEMORANDUM IN SUPPORT OF
                                              )   PLAINTIFF’S MOTION FOR
v.                                            )   PRELIMINARY INJUNCTION
                                              )
CRAIG C. DILGER, Chairman, Kentucky )             Civil Action No. 3:15-CV-42-GFVT
Registry of Election Finance, in his official )
capacity; JOHN STEFFEN, Executive             )
Director, Kentucky Registry of Election       )
Finance, in his official capacity,            )
                                              )
                Defendants.                   )
                                              )
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                                          SUMMARY

       Plaintiff seeks this injunction to halt a brazen discrimination in Kentucky law: banning

corporations from making political contributions, while allowing unions and limited liability

companies to contribute up to $1,000 for each election to a candidate or political committee and

up to $2,500 each year to a political party. Forty-two states and the federal government apply

the same contribution limits to unions and corporations; the Constitution requires that Kentucky

do so as well.

       Constitutional protections for freedom of speech have their “‘fullest and most urgent

application’ to speech uttered during a campaign for political office.” Citizens United v. Fed.

Election Comm’n, 558 U.S. 310, 339 (2010) (quoting Eu v. San Francisco County Democratic

Central Comm., 489 U.S. 214, 223 (1989)). Accordingly, political “contribution and expenditure

limitations operate in an area of the most fundamental First Amendment activities.” Buckley v.

Valeo, 424 U.S. 1, 14 (1976).

       Kentucky campaign finance law is of two minds when it comes to political contributions

to benefit candidates. On the one hand, corporations are banned from making candidate

contributions, both directly from a corporation’s general treasury and indirectly through a

corporation-financed PAC. See Advisory Opinion 2008-003 (Compl. Ex. 1). Corporations may

not even establish, finance, maintain, and control a PAC that contributes to candidates. See

Advisory Opinion 2014-003 (Compl. Ex. 2); Ky. Op. Atty. Gen. 91-80 (Compl. Ex. 3). The

corporate contribution ban originates in Section 150 of the Kentucky Constitution, and is

enforced through various statutes and regulations. See KRS 121.025, 121.035, and 121.150(20);

32 Ky. Admin. Regs. 2:170 (hereinafter collectively referred to as “Section 150”).



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       The penalties for violating the ban can be severe. An offending corporation forfeits all

right to carry on any business in Kentucky and can be fined up to $10,000; any officer, director,

or agent of a contributing corporation is guilty of a Class D felony and can also be fined up to

$10,000. Ky. Const. § 150; KRS 121.990. On its face and as applied by Defendants through the

various statutes, regulations, and Advisory Opinions cited herein, Section 150 imposes an

outright ban on candidate contributions by corporations, both directly from their general

treasuries and indirectly from corporate PACs.

       On the other hand, unincorporated groups—including unions and LLCs—are free to

make candidate contributions, both directly and through union- or LLC-controlled PACs. See

Advisory Opinion 2002-006 (Compl. Ex. 4) (“[P]rovided the Teamsters Local Union No. 783 is

not incorporated . . . you may accept the contribution on behalf of Mr. Engel’s campaign.”);

Advisory Opinion 2003-006 (Compl. Ex. 5) (“[T]he conduct you propose under the LLC form

would not fall within the Kentucky campaign finance provisions prohibiting corporate

contributions.”). Unions, LLCs, or their affiliated PACs may contribute up to $1,000 to each

candidate, campaign committee, and political issues committee in any one election. KRS

121.150(6). They can also contribute up to $2,500 to a political party and its subdivisions and

affiliates or to a caucus campaign committee in any one year. KRS 121.150(11). In other words,

corporations are totally prohibited from contributing to political candidates, parties, or

committees, but unincorporated groups may freely contribute up to ordinary limits.

       There is no legitimate justification for allowing unions and LLCs to contribute thousands

of dollars to candidates, parties, and political committees, while completely banning

contributions from corporations. This disparity violates the equal protection, free speech, and

free association protections of the United States Constitution.




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       Plaintiff Protect My Check, Inc. is a Florida non-profit corporation, authorized to do

business in Kentucky. Declaration of Brent Yessin ¶¶ 5, 6 (attached as Exhibit 1). Protect My

Check supports local legislators, workers, and employers who seek to expand employee rights

and create jobs by passing local right to work protections in the 25 states, including Kentucky,

that lack statewide protections. Id. ¶ 7. Unions, for their part, work tirelessly to oppose Protect

My Check’s efforts. Id. ¶ 8. But only unions can support political candidates, parties, and

committees under Section 150, creating an unconstitutionally lopsided playing field. Plaintiff

filed the instant action seeking declaratory and injunctive relief to remedy Defendants’

unconstitutional deprivation of its right to engage in political speech. But for Defendants’

enforcement of the Section 150 ban, Protect My Check would contribute to candidates, parties,

and political committees in order to support candidates who share its goal of empowering

individual workers. Id. ¶¶ 9–11.

       Issuance of a preliminary injunction to abate the Section 150 contribution ban is

appropriate here because: (1) Plaintiff is likely to succeed on the merits; (2) Plaintiff is likely to

suffer irreparable harm in the absence of preliminary relief; (3) providing Plaintiff with

injunctive relief will not harm others; and (4) an injunction is in the public interest. Hunter v.

Hamilton Cnty. Bd. of Elections, 635 F.3d 219, 233 (6th Cir. 2011) (citing Certified Restoration

Dry Cleaning Network, L.L.C. v. Tenke Corp., 511 F.3d 535, 542 (6th Cir. 2007)). These factors

are not “prerequisites that must be met. Instead, they are interconnected factors that the Court

must balance to determine if a preliminary injunction should be granted.” Bruner v. Zawacki,

2013 WL 2903241, *2 (E.D. Ky. 2013).

       The ongoing deprivation of Plaintiff’s constitutional rights constitutes irreparable harm.

Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (6th Cir. 1998) (“[I]t is well-settled that loss



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of First Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.”) (citing Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality) (internal

quotations omitted)). Because Plaintiff raises a substantial constitutional claim, no further

showing of irreparable injury is necessary. Newsom v. Norris, 888 F.2d 371, 378 (6th Cir. 1989)

(citing Elrod ) (“The Supreme Court has unequivocally admonished that even minimal

infringement upon First Amendment values constitutes irreparable injury sufficient to justify

injunctive relief.”). An injunction will not harm others because no substantial harm to others can

occur from enjoining enforcement of an unconstitutional law. Deja Vu of Nashville, Inc. v.

Metro. Gov’t of Nashville & Davidson Cnty., 274 F.3d 377, 400 (6th Cir. 2001) (“[I]f the

plaintiff shows a substantial likelihood that the challenged law is unconstitutional, no substantial

harm to others can be said to inhere in its enjoinment.”). Likewise, it is obvious that the public

interest is served by requiring adherence to the Constitution, which is all that Plaintiff requests

here. Miller v. City of Cincinnati, 622 F.3d 524, 540 (6th Cir. 2010). For these reasons, as

further demonstrated below, Plaintiff is entitled to a preliminary injunction.


                                           ARGUMENT

       I.      PLAINTIFF IS LIKELY TO SUCCEED ON THE MERITS.

       Plaintiff need not demonstrate it is certain to win; a substantial likelihood of success on

the merits warrants issuing the injunction. See, e.g., Miller, 622 F.3d at 528; see also 11A

Charles Alan Wright, Arthur R. Miller, et al., Federal Practice and Procedure § 2948.3 (2014)

(“The courts use a bewildering variety of formulations of the need for showing some likelihood

of success . . . [but] [a]ll courts agree that plaintiff must present a prima facie case but need not

show a certainty of winning.”). Because the Section 150 contribution ban is inconsistent with

the Supreme Court decisions discussed below, this burden is met.



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       A.      The Contribution Ban Burdens Protected Speech.

       The political speech of corporations—including political contributions and

expenditures—is protected by the First and Fourteenth Amendments to the United States

Constitution. First Nat’l Bank of Boston v. Bellotti, 435 U.S. 765, 777 (1978); Citizens United,

558 U.S. at 365. The right to make political contributions is protected by the First Amendment’s

guarantees of freedom of political expression and association. McCutcheon v. Fed. Election

Com’n, 134 S. Ct. 1434, 1448 (2014). A political contribution “serves as a general expression of

support for the candidate and his views” and “serves to affiliate a person with a candidate.” Id.

(quoting Buckley, 424 U.S. at 21–22.). The only government interest compelling enough to

justify regulation of these fundamental rights is preventing quid pro quo corruption or the

appearance thereof. Fed. Election Com’n v. Nat’l Conservative Political Action Committee, 470

U.S. 480, 496–497 (1985) (NCPAC). As discussed below, the contribution ban fails to serve the

corruption prevention interest; even if the ban could serve that interest, it goes too far in

restricting fundamental freedoms, ignoring both the equal protection clause of the Fourteenth

Amendment, as well as the free speech and association clauses of the First Amendment.

       B.      The Contribution Ban Violates the Fourteenth Amendment.

       Plaintiff first seeks relief from the Section 150 contribution ban because it denies equal

protection of the law guaranteed by the Fourteenth Amendment to the United States Constitution.

Compl. ¶¶ 33–41. Corporations, no less than individuals, are entitled to equal protection. Santa

Clara County v. Southern Pac. R. Co., 118 U.S. 394, 396 (1886). Because the Section 150

contribution ban implicates the constitutionally protected fundamental right of free speech, it is

subject to strict scrutiny under the Equal Protection Clause. See Police Dep’t of Chicago v.

Mosley, 408 U.S. 92, 101 (1972) (“The Equal Protection Clause requires that statutes affecting




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 First Amendment interests be narrowly tailored to their legitimate objectives.”); Lac Vieux

 Desert Band of Lake Superior Chippewa Indians v. Michigan Gaming Control Bd., 172 F.3d 397,

 410 (6th Cir. 1999) (same and collecting cases). This means that “statutory classifications

 impinging upon [political expression] must be narrowly tailored to serve a compelling

 governmental interest.” Austin v. Michigan Chamber of Commerce, 494 U.S. 652, 666 (1990),

 overruled on other grounds by Citizens United, 558 U.S. at 365. 1

        Applying strict scrutiny here, the contribution ban fails. The burden is on Defendants to

 justify a ban on corporations’ political contributions, while allowing both unions and LLCs to

 make thousands of dollars in contributions. See United States v. Playboy Entertainment Group,

 Inc., 529 U.S. 803, 816 (2000) (“When the Government restricts speech, the Government bears

 the burden of proving the constitutionality of its actions.”); City of Ladue v. Gilleo, 512 U.S. 43,

 52 (1994) (Regulatory exemptions “may diminish the credibility of the government’s rationale

 for restricting speech in the first place.”). This is a heavy burden, which requires Defendants to

 offer evidence of a causal link between the ban and preventing corruption. Nixon v. Shrink

 Missouri Gov’t PAC, 528 U.S. 377, 379 (2000) (“This Court has never accepted mere conjecture

 as adequate to carry a First Amendment burden . . . .”). Defendants will not be able to meet this

 1
   Some courts have applied the lesser “closely drawn” test to equal protection claims involving
 political contributions, rather than the “narrowly tailored” test required by strict scrutiny. Riddle
 v. Hickenlooper, 742 F.3d 922, 927 (10th Cir. 2014) (striking down contribution limits under
 “closely drawn” test, but noting that “by treating the contributors differently, the statute
 impinged on the right to political expression . . . . As a result, we conclude that the statutory
 classification impinged on a fundamental right. . . . This conclusion would ordinarily require us
 to apply strict scrutiny.”); Wagner v. Fed. Election Com’n, No. 13-5162, 2015 WL 4079575, *26
 (D.C. Cir. July 7, 2015) (declining to apply strict scrutiny); Woodhouse v. Maine Com’n on
 Governmental Ethics & Election Practices, 40 F. Supp. 3d 186, 195 (D. Me. 2014) (striking
 down contribution limits under “closely drawn” test). Regardless how the test is described, “if a
 law that restricts political speech does not ‘avoid unnecessary abridgement’ of First Amendment
 rights, it cannot survive ‘rigorous’ review.” McCutcheon, 134 S. Ct. at 1445–46 (quoting
 Buckley, 424 U.S. at 25).



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 burden. Defendants must offer evidence that justifies the rationale that unions and LLCs can

 contribute thousands of dollars to candidates with no threat of corruption, but a single dollar

 from a corporation would destroy public confidence in democracy. On its face, that is

 impossible because Kentucky’s “selection of a [$1,000 contribution] limit indicates its belief that

 contributions of that amount or less do not create a cognizable risk of corruption.” McCutcheon,

 134 S. Ct. at 1452.

        There is no justification for treating corporations differently from unions. Although

 corporations and unions are structured differently, these structural differences are irrelevant to

 the equal protection inquiry here. The critical inquiry in equal protection cases is whether the

 disparate treatment of two groups can be justified on the basis of differences relevant in the

 context. See Dallman v. Ritter, 225 P.3d 610, 634–35 (Colo. 2010). The Colorado Supreme

 Court struck down a similar discriminatory law on equal protection grounds in Dallman because,

 “[a]lthough unions and corporations are structurally dissimilar, both are similarly situated under

 Amendment 54’s [ban on candidate contributions].” Id. That case was similar to this one except

 union PACs were prohibited from contributing to candidates, but corporate PACs were allowed

 to donate. Id. at 634 n.41.

        In Dallman, the Colorado Supreme Court realized that, when they meet on the political

 battlefield, corporations and unions are functionally equivalent. Id. at 634–35. Indeed, they are

 often opposed forces, serving as point and counter-point on many issues. Plaintiff’s mission to

 expand employee rights and create jobs by supporting local right to work protections has been




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 aggressively opposed by unions in Kentucky. 2 But while Plaintiff is forbidden from supporting

 political candidates that favor right to work, its union opponents are free to fund their political

 allies. Plaintiff, like all corporations in Kentucky, faces a total prohibition on its political

 contributions to candidates, parties, and PACs.

         Moreover, the arbitrary and discriminatory nature of the corporate ban in the present case

 is even more evident than the ban struck down in Dallman because the Section 150 contribution

 ban also permits LLCs to make political contributions to candidates, parties, and PACs. Unlike

 unions, LLCs are structurally similar to corporations. See United States v. Hagerman, 545 F.3d

 579, 581 (7th Cir. 2008) (“[A]n LLC is a cross between a corporation and a partnership.”).

 Section 150’s disparate treatment of corporations and LLCs is offensive to the Fourteenth

 Amendment guarantee of equal protection because there are no relevant differences between the

 two type of companies—in the context of the contribution ban or any other. Dallman, 225 P.3d

 at 634–635.

         If the lopsided direct contribution limits were not enough, the Section 150 ban also

 prohibits corporations from using any resources to establish, finance, maintain, or control PACs

 that contribute to candidates, parties, or other PACs. See Advisory Opinion 2014-003 (Compl.

 Ex. 2); Ky. Op. Atty. Gen. 91-80 (Compl. Ex. 3); cf. Dallman, 225 P.3d at 634 n.41 (“[T]he fact

 that a corporation can advocate its views through a PAC under Amendment 54 while a union

 cannot represents disparate treatment under the Fourteenth Amendment.”). Meanwhile, PACs

 controlled by unions and LLCs can contribute up to the ordinary PAC limits. See Advisory


 2
   For example, Plaintiff supported Hardin County’s effort to pass a local right to work law. In
 response, nine unions filed a lawsuit challenging the law. See United Automobile, Aerospace
 and Agricultural Implement Workers of America Local 3047, et al., v. Hardin County, KY, et al.,
 Case No. 3:15-cv-00066 (W.D. Ky., filed Jan. 14, 2015).



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 Opinion 2003-006 (Compl. Ex. 5). Corporations may not freely allocate any resources to such a

 PAC. KRS 121.035(1); see also Advisory Opinion 2008-003 (Compl., Ex. 1); Advisory Opinion

 2014-003; Ky. Op. Atty. Gen. 91-80. Defendants’ restrictive treatment of corporations and

 permissive treatment of unions and LLCs tips the political landscape against the former and in

 favor of the latter. There is no legitimate justification for such unjust treatment.

         That the Section 150 ban prohibits even corporate PAC contributions distinguishes it

 from corporate speech restrictions that have been upheld by other courts. See Austin, 494 U.S. at

 660 (“Contrary to the dissents’ critical assumptions . . . the Act does not impose an absolute ban

 on all forms of corporate political spending but permits corporations to make independent

 political expenditures through separate segregated funds.”); Iowa Right To Life Comm., Inc. v.

 Tooker, 717 F.3d 576, 602 (8th Cir. 2013) cert. denied, 134 S. Ct. 1787 (2014) (“The ban is also

 not complete—entities may contribute through PACs.”). Those older decisions go against the

 grain of recent U.S. Supreme Court decisions; but even under their reasoning, total contribution

 bans simply go too far. The Section 150 ban is a particularly harsh curtailment of corporations’

 political speech, set against permissive allowances for union and LLC political speech. No court

 has upheld the sort of lopsided political contribution ban enforced by Defendants.

         Moreover, the courts’ reasons for upholding corporate speech restrictions in those older

 cases have been eroded by the subsequent evolution of campaign finance case law. Courts have

 suggested two differences between unions and businesses in applying equal protection

 guarantees to political speech restrictions, but both these differences have been disavowed in

 subsequent decisions: (1) protecting shareholders from ultra vires activities; and (2)

 “antidistortion,” i.e., leveling the political playing field by restricting the influence of political

 war chests amassed with the state-conferred advantages of the corporate form.




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        The Supreme Court has rejected shareholder protection as a legitimate reason for

 restricting political speech. Concerns over protecting dissenting shareholders from being

 compelled to fund corporate political speech cannot justify bans on corporate speech; “the

 remedy is not to restrict speech but to consider and explore other regulatory mechanisms. The

 regulatory mechanism here, based on speech, contravenes the First Amendment.” Citizens

 United, 558 U.S. at 362; see also Sindicato Puertorriqueno de Trabajadores v. Fortuno, 699

 F.3d 1, 13 (1st Cir. 2012) (same). This is a sound conclusion because, like union members,

 shareholders have procedures in place to protect their interests. See, e.g., Austin, 494 U.S. at 686

 (Scalia, J., dissenting) (shareholders); Chicago Teachers Union v. Hudson, 475 U.S. 292, 307

 (1986) (unions). Diminishing fundamental freedoms to protect shareholders from the specter of

 political spending was never necessary and the Supreme Court has now made that clear. 3

 Citizens United, 558 U.S. at 362.

        Nor has the Supreme Court long tolerated speech restrictions that embrace the so-called

 antidistortion rationale, i.e., preventing “the corrosive and distorting effects of immense

 aggregations of wealth that are accumulated with the help of the corporate form and that have

 little or no correlation to the public’s support for the corporation’s political ideas.” Austin, 494

 U.S. at 660. The Court relied on this so-called antidistortion interest in Austin to rationalize

 different limits on speech for unions and businesses, in order to “eliminat[e] from the political

 process the corrosive effect of political ‘war chests’ amassed with the aid of the legal advantages


 3
   Even if shareholder protection were relevant, Section 150 would be overbroad to accomplish
 this purpose. First, because it bans political speech by corporations that do not have multiple
 shareholders as well as those that do. See Citizens United, 558 U.S. at 362 (“[T]he statute is
 overinclusive because it covers all corporations, including . . . for-profit corporations with only
 single shareholders.”). Second, as discussed infra, because it overlooks less burdensome
 alternatives to protect shareholder rights. See id.; McCutcheon, 134 S. Ct. at 1459–60.



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 given to corporations.” Id. at 666. But the Court has subsequently thrice repudiated the idea that

 the government’s desire to level the political playing field justifies any limits on speech. Davis v.

 Fed. Election Comm’n, held that leveling the playing field is not a constitutionally cognizable

 interest. 554 U.S. 724, 742 (2008) (“[I]t is a dangerous business for Congress to use the election

 laws to influence the voters’ choices.”). Citizens United reinforced the holding that the

 antidistortion interest is invalid and held that the mere fact that a group has taken on the

 corporate form (with its associated state-conferred advantages) is not a legitimate reason to

 infringe speech. 558 U.S. at 349 (“If the antidistortion rationale were to be accepted, however, it

 would permit Government to ban political speech simply because the speaker is an association

 that has taken on the corporate form.”). McCutcheon v. Fed. Election Comm’n put another nail

 in the antidistortion rationale’s coffin, striking down the $48,600 federal aggregate limit on

 candidate contributions, reasoning “[i]t is no answer to say that the individual can simply

 contribute less money to more people. . . . [A]s we have recently admonished, the Government

 may not penalize an individual for ‘robustly exercis[ing]’ his First Amendment rights.” 134 S.Ct.

 1434, 1449 (2014) (citing Davis, 554 U.S. at 739). The Supreme Court’s repeated rejection of

 the antidistortion rationale makes it immaterial to Plaintiff’s claims.

        The decisions examined above show that there is simply no reason to treat corporations

 differently from unions and LLCs in the political speech context. Whatever valid campaign

 finance limits apply to unions and LLCs should apply to corporations, and vice versa. Indeed,

 this is the approach taken by 42 states and the federal government. State Limits on Contributions

 to Candidates, National Conference of States Legislatures (Oct.

 2013), http://www.ncsl.org/research/elections-and-campaigns/state-limits-on-contributions-to-

 candidates.aspx. More important, it is the approach required by the Equal Protection Clause of




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 United States Constitution. Therefore, the Section 150 contribution ban should be enjoined to

 the extent that it prohibits Plaintiff from contributing to political candidates, PACs, or party

 committees on the same terms as unions and LLCs.

        C.      The Contribution Ban Violates the First Amendment.

        Plaintiff also seeks relief from the contribution ban because it violates its freedom of

 speech and association. Compl. ¶¶ 42–48. Even if Section 150 treated the political speech of

 corporations, LLCs, and unions equally and therefore did not violate the equal protection

 guarantee, it would still violate the right of free speech and the closely related right of free

 association.

        In the First Amendment context, the Supreme Court has held that limitations on political

 contributions must be “closely drawn,” but not “narrowly tailored.” McCutcheon, 134 S. Ct. at

 1445–46. Here, this is a distinction without a difference because Section 150 is neither “closely

 drawn” nor “narrowly tailored.” Regardless how the test is described, “if a law that restricts

 political speech does not ‘avoid unnecessary abridgement’ of First Amendment rights, it cannot

 survive ‘rigorous’ review.” McCutcheon, 134 S. Ct. at 1445–46 (quoting Buckley, 424 U.S. at

 25). The contribution ban’s total prohibition on corporations’ political contributions

 unnecessarily abridges the freedoms protected by the First Amendment.

        The Supreme Court has upheld certain limits on corporate political contributions. Fed.

 Election Comm’n v. Beaumont, 539 U.S. 146, 149 (2003); Austin, 494 U.S. at 660; Buckley v.

 Valeo, 424 U.S. 1, 29 n.31 (1976). Those older decisions have been largely repudiated by recent

 Supreme Court decisions, as explored below; yet, even those cases’ more deferential First

 Amendment test for corporate contribution limits is offended by Section 150’s outright ban. The

 Supreme Court has never upheld a regulation on direct corporate political contributions without




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 noting that it was doing so because those regulations allowed corporations to make indirect

 contributions through establishing, financing, maintaining, and controlling a PAC. Beaumont,

 539 U.S. at 149 (“The prohibition does not, however, forbid ‘the establishment, administration,

 and solicitation of contributions to a separate segregated fund to be utilized for political

 purposes.’” (quoting 2 U.S.C. § 441b(b)(2)(C))); see Austin, 494 U.S. at 660 (“We find that the

 Act is precisely targeted to eliminate the distortion caused by corporate spending while also

 allowing corporations to express their political views [through PACs].”); Buckley, 424 U.S. at 29

 n.31 (“Corporate and union resources without limitation may be employed to administer these

 [PAC] funds and to solicit contributions from employees, stockholders, and union members.”).

 Under Section 150, a corporation can give no support to a PAC. Advisory Opinion 2008-003. It

 is enough here to recognize that the lack of a “PAC option” is fatal to Section 150. Beaumont,

 539 U.S. at 163 (“The PAC option allows corporate political participation without the temptation

 to use corporate funds for political influence . . . .”); see also Kentucky Right to Life, Inc. v. Terry,

 108 F.3d 637, 645 (6th Cir. 1997) (noting that although federal law prohibits direct contributions

 by corporations to candidates “the statute permitted corporations to make limited campaign

 contributions from separate segregated funds solicited explicitly for that purpose.”). 4


 4
   While the Sixth Circuit upheld KRS 121.025’s ban on direct corporate contributions against a
 First Amendment challenge in Kentucky Right to Life, that decision is inapplicable here. In
 Kentucky Right to Life, the plaintiffs argued that only the direct contribution ban was
 unconstitutional, only as applied to nonprofit corporations. Id. at 645–46. The Sixth Circuit
 rejected that argument because there is no meaningful distinction between nonprofit and for-
 profit corporations in the context of the contribution ban, just as there is no meaningful
 distinction between corporations, LLCs, and unions in the context of the ban. Plaintiff’s claim
 here was never raised in Kentucky Right to Life: whether the Section 150 ban on both direct and
 indirect corporate contributions can be justified on the basis of reducing corruption when all
 other similarly situated groups can make contributions without any apparent threat of corruption.
 Given the selective reach of the contribution ban, Defendants cannot justify a total ban on
 corporate contributions alone. City of Ladue, 512 U.S. at 52.



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          For purposes of enjoining the contribution ban, it is sufficient to acknowledge that

 Section 150 provides no accommodation for political speech through corporate PACs.

 Beaumont, 539 U.S. at 163. It is far from certain that the Supreme Court would find the PAC

 option to be a sufficient alternative since a PAC “does not allow corporations to speak.” Citizens

 United, 558 U.S. at 337. For now, whether the PAC option goes far enough is academic in light

 of Section 150’s unequivocal ban. At the very least, the contribution ban must be enjoined

 because it lacks a “PAC option [that] allows corporate political participation.” Beaumont, 539

 U.S. at 163.

          If Section 150 applied a more nuanced restraint on only direct corporate contributions—

 as the Court’s decision in Beaumont allowed—it would still violate the First Amendment. The

 Supreme Court has significantly undermined the core holding of Beaumont, “leaving its

 precedential value on shaky ground.” Minnesota Citizens Concerned for Life, Inc. v. Swanson,

 692 F.3d 864, 879 n.12 (8th Cir. 2012). Beaumont’s First Amendment analysis relies heavily on

 the shareholder protection and antidistortion rationales, which—as explained above in the

 context of Austin’s Equal Protection analysis—have been repudiated since Beaumont was

 decided. Beaumont also justified regulation of direct corporate contributions on the concern that

 corporations could be “misuse[d] as conduits for circumventing the contribution limits imposed

 on individuals . . . .” 539 U.S. at 160. But the Court has since held that disclosure is the proper

 approach to circumvention, rather than aggregate contribution limits (let alone contribution

 bans):

          Disclosure requirements burden speech, but—unlike the aggregate limits—they
          do not impose a ceiling on speech. For that reason, disclosure often represents a
          less restrictive alternative to flat bans on certain types or quantities of speech.
          With modern technology, disclosure now offers a particularly effective means of
          arming the voting public with information.




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 McCutcheon, 134 S. Ct. at 1459–60 (citations omitted). Every aspect of Beaumont’s First

 Amendment analysis—shareholder protection, antidistortion, and anticircumvention—has been

 bankrupted by subsequent refinement of the Supreme Court’s campaign finance jurisprudence.

 Beaumont leads to the conclusion that Section 150 is unconstitutional because it has no PAC

 option; but even if there were a PAC option and Beaumont thus pointed the other way, it would

 be a thin reed to support a ban on direct political contributions from corporations. Therefore, the

 Section 150 contribution ban should be enjoined to the extent that it prohibits Plaintiff from

 contributing to political candidates, PACs, or party committees.

        II.     PLAINTIFF IS SUFFERING IRREPARABLE HARM.

        Because Plaintiff has a strong possibility of success on the merits, an injunction would be

 appropriate even without a strong showing on the equitable factors; however, those factors also

 weigh strongly in Plaintiff’s favor. Connection Distrib. Co., 154 F.3d at 288 (“When a party

 seeks a preliminary injunction on the basis of the potential violation of the First Amendment, the

 likelihood of success on the merits often will be the determinative factor.”).

        The ongoing deprivation of Plaintiff’s constitutional rights constitutes irreparable harm.

 Newsom, 888 F.2d at 378 (“The Supreme Court has unequivocally admonished that even

 minimal infringement upon First Amendment values constitutes irreparable injury sufficient to

 justify injunctive relief.”) (citing Elrod ). Because Plaintiff raises a substantial constitutional

 claim, no further showing of irreparable harm is necessary. Id.; see also Hamilton’s Bogarts, Inc.

 v. Michigan, 501 F.3d 644, 649 (6th Cir. 2007) (“‘[I]n [a First Amendment] case, the issues of

 the public interest and harm to the respective parties largely depend on the constitutionality of

 the statute.’”). “Thus, to the extent that [Plaintiff] can establish a substantial likelihood of

 success on the merits of its First Amendment claim, it also has established the possibility of




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 irreparable harm as a result of the deprivation of the claimed free speech rights.” Connection

 Distrib. Co., 154 F.3d at 288.

         III.    AN INJUNCTION WOULD NOT CAUSE SUBSTANTIAL HARM TO
                 OTHERS.

         As Plaintiff has demonstrated “a substantial likelihood that the challenged law is

 unconstitutional, no substantial harm to others can be said to inhere in its enjoinment.” Deja Vu

 of Nashville, 274 F.3d at 400; see also Connection Distrib. Co., 154 F.3d at 288. Moreover, the

 harm to Plaintiff’s constitutional rights in the absence of a preliminary injunction far outweighs

 any illusory harm to Defendants that could result from this Court insisting on adherence to the

 United States Constitution. Any harms Defendants might imagine in the absence of the

 contribution ban are properly addressed by contribution limitations and disclosure requirements.

 See Ezell v. City of Chicago, 651 F.3d 684, 710 (7th Cir. 2011) (“[T]he harms invoked by the

 City are entirely speculative and in any event may be addressed by more closely tailored

 regulatory measures.”). On the other side of the scale, Plaintiff has established a genuine

 likelihood that the Constitution is violated every day Section 150 is in effect. The injunction

 would not cause substantial harm to others.

         IV.     GRANTING AN INJUNCTION IS IN THE PUBLIC INTEREST, GIVEN
                 THE IMPORTANT CONSTITUTIONAL RIGHTS AT STAKE.

         The public interest is clearly served by requiring adherence to the Constitution. Miller,

 622 F.3d at 540 (“When a constitutional violation is likely, moreover, the public interest

 militates in favor of injunctive relief because it is always in the public interest to prevent

 violation of a party’s constitutional rights.”) (internal citations omitted). Because Plaintiff has

 established that Section 150 violates the United States Constitution, a preliminary injunction is in

 the public interest.



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        V.      THE WAIVER OF BOND IS APPROPRIATE.

        This Court has discretion to waive the security requirements of Fed. R. Civ. P. 65(c), or

 require only a nominal bond. Stockslager v. Carroll Elec. Cooperative Corp., 528 F.2d 949, 951

 (8th Cir. 1976) (amount of bond required upon the issuance of a preliminary injunction is within

 the sound discretion of the district court); see also Barahona-Gomez v. Reno, 167 F.3d 1228,

 1237 (9th Cir. 1999) (recognizing that “[o]ur sister circuits have construed Fed. R. Civ. P. 65(c)

 as investing the district court with discretion as to the amount of security required, if any,” and

 listing cases). When a preliminary injunction would merely require compliance with the

 Constitution, no bond is required. See Doe v. Pittsylvania County, Va., 842 F. Supp. 2d 927, 937

 (W.D. Va. 2012) (fixing the bond at zero dollars where injunction merely required compliance

 with the Constitution); Baca v. Moreno Valley Unified School Dist., 936 F. Supp. 719, 738 (C.D.

 Cal. 1996) (waiving bond because “to require a bond would have a negative impact on plaintiff’s

 constitutional rights, as well as the constitutional rights of other members of the public affected

 by the policy”); Smith v. Board of Election Com’rs for City of Chicago, 591 F. Supp. 70, 72 (N.D.

 Ill. 1984) (recognizing that, in cases involving constitutional rights, requiring plaintiffs to post

 bond would condition the exercise of those rights on plaintiffs’ financial status). Further, where

 the amount of potential damages is limited, a nominal bond of $1 is appropriate. Sak v. City of

 Aurelia, Iowa, 832 F. Supp. 2d 1026, 1048 (N.D. Iowa 2011). Here, Plaintiff is seeking only to

 vindicate its constitutional rights and, to this end, Plaintiff is represented pro bono.

        Further, courts have found that a high likelihood of success on the merits supports waiver

 of the bond requirement. People of State of Cal ex rel. Van de Kamp v. Tahoe Regional

 Planning Agency, 766 F.2d 1319, 1326 (9th Cir.), amended on other grounds, 775 F.2d 998 (9th

 Cir. 1985). As demonstrated above, Plaintiff has shown a high likelihood of success on the




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 merits. As such, it would be appropriate to waive the bond requirement or set bond at a nominal

 amount.


                                          CONCLUSION

        The views of corporations are traditionally a counterbalance to those of unions. This

 persistent characteristic of American labor relations is embodied in Plaintiff’s dedication to

 fighting compulsory unionization and unions’ efforts in opposition. Equally persistent is the rule

 that government may not “restrict the speech of some elements of our society in order to enhance

 the relative voice of others.” Buckley, 424 U.S. at 48–49. A ban on the political speech of one

 element of society—while its natural counterpart freely contributes to candidates, parties, and

 committees—is unconstitutional from any perspective. The equal protection, free speech, and

 free association protections of the United States Constitution proscribe Kentucky’s

 discriminatory treatment of corporations. Plaintiff respectfully asks this Court to declare Section

 150 of the Kentucky Constitution, KRS 121.025, 121.035, and 121.150(20), and 32 Ky. Admin.

 Regs. 2:170 unconstitutional and enjoin Defendants from enforcing these laws to the extent they

 prohibit Plaintiff from contributing to political candidates, PACs, or party committees.

 DATED this 10th day of August 2015.
                                               Respectfully submitted,


                                               /s/ James M. Manley
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                                  CERTIFICATE OF SERVICE

         I certify that on August 10, 2015, I electronically filed the foregoing with the Clerk of the
 Court using the CM/ECF system, which will send notification of such filing to attorneys and
 parties of record at this time and which will be available for review at a later date.


                                               /s/ James M. Manley




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